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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SJ ABSTRACT d/b/a                                :                  CIVIL ACTION
 INTERSTATEABSTRACT.COM,                          :
 et al.                                           :                  NO. 21-1334
           Plaintiffs                             :
                                                  :
                v.                                :
                                                  :
 OLD REPUBLIC NATIONAL                            :
 TITLE INSURANCE COMPANY                          :
           Defendant                              :

                                             ORDER

       AND NOW, this 14th day of October 2021, upon consideration of the motion to dismiss
filed by Defendant Old Republic National Title Insurance Company pursuant to Federal Rule of
Civil Procedure 12(b)(6), [ECF 9], the response in opposition jointly filed by Plaintiffs SJ Abstract
d/b/a InterstateAbstract.com (“InterstateAbstract”) and Ramon Gaber (“Gaber”), [ECF 10], and
the allegations in the complaint, it is hereby ORDERED, consistent with the reasons set forth in
the accompanying Memorandum Opinion, that:
       1. The motion to dismiss is GRANTED as to Gaber’s breach of contract claim
          (Count I);
       2. The motion to dismiss is DENIED as to InterstateAbstract’s breach of contract
          claim (Count I);
       3. The motion to dismiss is GRANTED as to Gaber’s intentional infliction of
          emotional distress claim (Count II);
       4. The motion to dismiss is GRANTED as to Gaber’s negligent infliction of
          emotional distress claim (Count III);
       5. The motion to dismiss is GRANTED as to InterstateAbstract’s claim under the
          Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., (Count IV); and
       6. The motion is to dismiss GRANTED as to InterstateAbstract’s unfair
          competition claim (Count V).


                                              BY THE COURT:
                                              /s/ Nitza I. Quiñones Alejandro
                                              NITZA I. QUIÑONES ALEJANDRO
                                              Judge, United States District Court
